    20-51084-rbk Doc#3 Filed 06/10/20 Entered 06/10/20 15:44:33 Notice of Ch11 Mtg C/P Pg
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 Information to identify the case:
 Debtor
                   KrisJenn Ranch, LLC, Series Pipeline Row                                    EIN 74−2840947
                   Name


 United States Bankruptcy Court Western District of Texas
                                                                                               Date case filed for chapter 11 4/27/20
 Case number: 20−51084−rbk




Official Form 309F1 (For Corporations or Partnerships)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   02/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.

  1. Debtor's full name                       KrisJenn Ranch, LLC, Series Pipeline Row


  2. All other names used in the
     last 8 years


  3. Address                                  410 Spyglass Rd
                                              McQueeney, TX 78123−3418

  4. Debtor's attorney                        Ronald J. Smeberg                                          Contact phone (210) 695−6684
      Name and address                        The Smeberg Law Firm, PLLC
                                              2010 W Kings Hwy                                           Email: ron@smeberg.com
                                              San Antonio, TX 78201−4926

  5. Bankruptcy clerk's office                                                                            Hours open:
      Documents in this case may be filed                                                                 Monday − Friday 8:00 AM − 4:00 PM
      at this address.
      You may inspect all records filed in    615 E. HOUSTON STREET, ROOM 597
      this case at this office or online at   SAN ANTONIO, TX 78205                                       Contact phone (210) 472−6720
      www.pacer.gov. See Court website
      for electronic filing information:                                                                  Date: 6/10/20
      www.txwb.uscourts.gov.


  6. Meeting of creditors                                                                                Location:
      The debtor's representative must    July 13, 2020 at 10:30 AM
      attend the meeting to be questioned                                                                Phone:(866)909−2905; Code:
      under oath.                         The meeting may be continued or adjourned to a later           5519921#
      Creditors may attend, but are not   date. If so, the date will be on the court docket.
      required to do so.

                                                                                                           For more information, see page 2 >




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Debtor KrisJenn Ranch, LLC, Series Pipeline Row                                                                           Case number 20−51084−rbk


  7. Proof of claim deadline                 Deadline for filing proof of claim:
                                             For all creditors (except a governmental                     10/13/20
                                             unit):
                                             For a governmental unit:                                      Provided in Fed. R. Bankr. P. 3002 (c)(1)): not
                                                                                                           later than 180 days after the date of the order
                                                                                                           for relief)
                                             A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                             at www.uscourts.gov or any bankruptcy clerk's office.
                                             Your claim will be allowed in the amount scheduled unless:
                                             • your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             • you receive another notice.
                                             If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                             must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                             You may file a proof of claim even if your claim is scheduled.
                                             You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.
                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                             proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                             explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                             rights, including the right to a jury trial.


  8. Exception to discharge                  If § 523(c) applies to your claim and you seek to have it
     deadline                                excepted from discharge, you must start a judicial
      The bankruptcy clerk's office must     proceeding by filing a complaint by the deadline stated
      receive a complaint and any            below.
      required filing fee by the following   Deadline for filing the complaint:                            __________
      deadline.


                                             If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                             have any questions about your rights in this case.


                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                             trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                             business.


                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                             debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  11. Discharge of debts                     debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                             discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                             paying the filing fee in the bankruptcy clerk's office by the deadline.




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